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				IN RE CERTIFICATION OF SIGNATURE COUNT STATE QUESTION 768, INITIATIVE PETITION 3982014 OK 76Case Number: 113156Decided: 09/08/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 76, __ P.3d __
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 


In re Certification of Signature Count State Question 768, Initiative Petition 398




ORDER


¶1 Pursuant to section 8(G) of title 34 of the Oklahoma Statutes, the Oklahoma Secretary of State has certified to this Court: (1) the total number of signatures counted regarding the initiative petition and (2) the total number of votes cast for the state office receiving the highest number of votes cast at the last general election.

¶2 THIS COURT FINDS:

(1) The total number of signatures counted for State Question 768, Initiative Petition 398 is 75,384.

(2) Based on the total number of votes cast for the office of Governor in the 2010 General Election, the number of votes necessary for a numerically sufficient initiative to change the Oklahoma Constitution is presently 155,216.

¶3 IT IS THEREFORE ADJUDGED, ORDERED, AND DECREED:

(1) State Question 768, Initiative Petition 398, fails for numerical insufficiency of signatures.

(2) Pursuant to section 8(H) of title 34, the Secretary of State is directed to cause to be published, in at least one newspaper of general circulation in the state, a notice of the filing of the signed petitions and the insufficiency thereof and notice that any citizen or citizens of the state may file an objection relating only to the validity or number of the signatures within ten days of the date of publication.

(3) The Secretary of State is directed to obtain verified proof of publication of the notice herein directed and to file the same with the Clerk of this Court as a return to this order.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 8th day of September, 2014.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







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